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     Attorneys for Nevada Department of Wildlife
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8                                UNITED STATES DISTRICT COURT
9                                    DISTRICT OF NEVADA
10   UNITED STATES OF AMERICA, et al.              IN EQUITY NO. C-125-MMD
11                 Plaintiffs,                     Subproceeding: 3:73-CV-00128-MMD-
12          vs.                                    WGC
13   WALKER RIVER PAIUTE TRIBE,
14                 Plaintiff-Intervenor,                     ORDER GRANTING
15   WALKER RIVER IRRIGATION                            SUBSTITUTION OF COUNSEL
     DISTRICT, a corporation, et al.,
16
                   Defendants.
17
      MINERAL COUNTY,
18
                   Plaintiff-Intervenor,
19
            vs.
20
      WALKER RIVER IRRIGATION
21    DISTRICT, a corporation, et al.,
22                 Defendants.
23

24         The State of Nevada, by and through counsel, AARON D. FORD, Attorney General

25   of the State of Nevada, hereby notifies the Court and respective parties to this action that

26   Deputy Attorney General ANTHONY J. WALSH has assumed responsibility for

27   representing the interests of the State of Nevada, ex rel., the Nevada Department of

28   Wildlife (“NDOW”), in the above-entitled action.



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1          Deputy Attorney General Tori N. Sundheim is no longer responsible for handling of
2    this case and should be removed from this Court’s docket as counsel of record.
3          Due to this change, it is further requested that all future pleadings be served upon
4    and any contact by court personnel or parties to the above-entitled action be directed to
5    Deputy Attorney General ANTHONY J. WALSH.
6          DATED this 24th day of September, 2021.
7                                           AARON D. FORD
                                            Attorney General
8

9                                           By: /s/ Anthony J. Walsh
                                               ANTHONY J. WALSH, (NV State Bar 14128)
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14                                             Attorneys for Respondent,
                                                Nevada Department of Wildlife
15

16
      IT IS SO ORDERED.
17
      DATED: September 29, 2021.
18

19                                      ____________________________________________
                                        UNITED STATES MAGISTRATE JUDGE
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